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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,                       )
                                                   )   CASE NO. MJ 11-292
09          Plaintiff,                             )
                                                   )
10          v.                                     )
                                                   )   DETENTION ORDER
11 WALLI MUJAHIDH,                                 )
   Also known as Frederick Domingue, Jr,           )
12                                                 )
          Defendant.                               )
13 ____________________________________

14 Offense charged:        Conspiracy to Murder Officers and Employees of the United States;

15 Conspiracy to Use Weapons of Mass Destruction; Possession of Firearms in Furtherance of

16 Crimes of Violence

17 Date of Detention Hearing:     June 29, 2011.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably

21 assure the appearance of defendant as required and the safety of other persons and the

22 community.



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01            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02            1.      Defendant and a co-defendant are charged by Complaint with the

03 above-referenced crimes.         Upon the advice of counsel, defendant did not elect to be

04 interviewed by Pretrial Services. Therefore, much of his background information is either not

05 known or unverified.

06            2.      Defendant does not object to entry of a detention order.

07            3.      There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the

09 danger to other persons or the community.

10 It is therefore ORDERED:

11         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

12            General for confinement in a correction facility separate, to the extent practicable, from

13            persons awaiting or serving sentences or being held in custody pending appeal;

14         2. Defendant shall be afforded reasonable opportunity for private consultation with

15            counsel;

16         3. On order of the United States or on request of an attorney for the Government, the

17            person in charge of the corrections facility in which defendant is confined shall deliver

18            the defendant to a United States Marshal for the pupose of an appearance in connection

19            with a court proceeding; and

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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 29th day of June, 2011.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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